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                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF ILLINOIS

YURY GRENADYOR, individually, and on
behalf of all others similarly situated,
                                                    Case No.: 1:21-cv-04515
                Plaintiff,
               v.                                   District Judge Sharon Johnson Coleman
7-ELEVEN, INC., a Texas corporation,
                Defendant.



                               STIPULATION OF DISMISSAL

       The undersigned parties, by their respective counsel, hereby agree and stipulate pursuant
to Fed. R. Civ. P. 41(a)(1)(A), to the dismissal of all claims by Plaintiff Yury Grenadyor with
prejudice, and the claims of any putative class members without prejudice, against Defendant 7-
Eleven, Inc. in this action pursuant to settlement, the parties agreeing to bear their own costs and
fees.



Plaintiff YURY GRENADYOR,                              Defendant 7-ELEVEN, INC.,


By: /s/ Thomas A. Zimmerman, Jr.                       By: /s/ Daniel M. Blouin
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